       Case 2:09-cv-01948-CMK Document 64 Filed 10/31/11 Page 1 of 3

 1   James A. Curtis, Bar No. 70538
     Email: jcurtis@nccn.et
 2   [Counsel for Service]
     Christian M. Curtis, Bar No. 270918
 3   Email: christianmcurtis@gmail.com
     SHINE COMPTON, APC
 4   131 South Auburn Street, Suite 203
     Grass Valley, California 95945-6501
 5   Telephone: (530) 272-3132
     Fax: (530) 272-3146
 6
     Howard G. Curtis, Bar No. 79015
 7   Email: hgcurtis@sonic.net
     LAW OFFICE OF HOWARD G. CURTIS
 8   230 Aguirre Way
     Cotati, California 94931
 9   Telephone: (707) 495-2280
     Fax: (707) 793-0167
10
     Attorneys for Defendants
11   CHRISTOPHER BENSON and RICHARD KNOX
12

13                                 IN THE UNITED STATES DISTRICT COURT
14                                FOR THE EASTERN DISTRICT OF CALIFORNIA
15

16    ROGER CLARK,                     )                     Case No. 2:09-cv-01948-CMK
                                       )
17                      Plaintiff,     )
                                       )
18                                     )
           vs.                         )                     ORDER
19                                     )
                                       )
20    ROLLING HILLS CASINO, COUNTY OF  )
      TEHAMA, TEHAMA COUNTY SHERIFF’S )
21    DEPARTMENT, CLAY PARKER,         )
      OFFICER BENNET, OFFICER BENSON,  )
22    ERIC FELIX, JON PATA, DOES 1-25, )
                                       )
23                      Defendants.    )
                                       )
24

25

26            IT IS HEREBY ORDERED, pursuant to stipulation of all parties pursuant to Federal

27   Rule of Civil Procedure 41(a)(1), that the above-captioned action, including all claims for relief

28   and causes of action therein is hereby dismissed with prejudice as to all parties, with each party

                                                      1
     PROPOSED ORDER
     Case No. 2:09-cv-01948-CMK
                       Case 2:09-cv-01948-CMK Document 64 Filed 10/31/11 Page 2 of 3

 1
     bearing their own attorneys’ fees and cost of suit herein.
 2

 3
                           IT IS SO ORDERED.
 4

 5   Date: 10/28/2011
 6

 7
                                                     _____________________________________
 8                                                   CRAIG M. KELLISON
                                                     UNITED STATES MAGISTRATE JUDGE
 9
     DEAC_Signature-END:




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     PROPOSED ORDER
     Case No. 2:09-cv-01948-CMK
       Case 2:09-cv-01948-CMK Document 64 Filed 10/31/11 Page 3 of 3

 1                                        PROOF OF SERVICE
 2
     STATE OF CALIFORNIA            )
 3                                  )
     COUNTY OF NEVADA               )
 4
     I am employed in the County of Nevada, State of California. I am over the age of 18 and not a
 5   party to the within action. My business address is Shine Compton, APC, 131 South Auburn
 6   Street, Suite 203, Grass Valley, California, 95945.

 7   On October 19, 2011, I served the foregoing document described as PROPOSED ORDER
     ON STIPULATION OF DISMISSAL AS TO ALL PARTIES, on all interested parties in
 8   this action by placing a true copy thereof, enclosed in sealed envelopes, addressed as stated on
     the attached Service List:
 9
     [X]      BY MAIL: I am readily familiar with the ordinary business practices of Shine
10            Compton, APC for collection and processing of correspondence for mailing by U.S.
              Postal Service. I deposited such envelope(s) in the mail at Grass Valley, California.
11            The envelope(s) was/were mailed with postage thereon fully prepaid.
12
     I declare that I am employed in the office of a member of the Bar of this Court, at whose
13   direction the service was made.
14
     I declare under penalty of perjury under the laws of the State of California, that the foregoing is
15   true and correct, and that I have executed this document on October 19, 2011, at Grass Valley,
     California.
16

17                                                 /s/ Keelynn B. Beutler
                                                   Keelynn B. Beutler
18
     SERVICE LIST:
19   Roger Clark v. Rolling Hills Casino, et al.
     2:09-CV-1948-CMK
20

21
       Roger Clark
22     P.O. Box 8593
       Red Bluff, CA 96080
23
       Plaintiff, in pro se
24

25

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     PROPOSED ORDER
     Case No. 2:09-cv-01948-CMK
